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AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:16-M -09004(1)
                                                            §
(1) Martin Reyes-Duque                                      §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about August 29, 2016 in Maverick county, in the WESTERN

DISTRICT OF TEXAS defendant(s) did, Martin REYES-Duque, an alien, entered, or was found in the United

States at or near Eagle Pass, Texas, after having been denied admission, excluded, deported, or removed

from the United States through Del Rio, Texas, Intl Bridge on December 18, 2009, and not having obtained

the express consent of the Secretary of the Department of Homeland Security or the Attorney General of the

United States to reapply for admission thereto. Defendant being voluntarily in the United States unlawfully ,

a felony,

in violation of Title             8            United States Code, Section(s)     1326(a)(1)

.

                I further state that I am a(n) BPA and that this complaint is based on the following facts: "The

defendant, Martin REYES-Duque, was arrested by Border Patrol Agents, on August 29, 2016 for being an alien

illegally present in the United States. Investigation and

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           GARCIA, Jesus J
                                                                           BPA

08/31/2016                                                            at   DEL RIO, Texas
File Date                                                                  City and State




COLLIS WHITE                                                               ______________________________
U.S. MAGISTRATE JUDGE                                                      Signature of Judicial Officer
             Case
CONTINUATION OF   2:16-mj-09004-CW
                CRIMINAL  COMPLAINTDocument 1 Filed 08/31/16 Page 2 of 2

                                WESTERN DISTRICT OF TEXAS
      UNITED STATES OF AMERICA

                      vs.                              Case Number: DR:16-M -09004(1)

            (1) Martin Reyes-Duque

Continuation of Statement of Facts:

records of the Bureau of Citizenship and Immigration Services reveal the defendant was previously deported from
the United States on December 18, 2009 through Del Rio, Texas, Intl Bridge. The defendant was found in the
Western District of Texas without having obtained permission from the Secretary of Homeland Security or the
Attorney General of the United States to re-apply for admission after being deported. The defendant is unlawfully
present in the United States."




______________________________
Signature of Judicial Officer                                  Signature of Complainant
